Case: 3:14-cr-00149-TMR Doc #: 47 Filed: 03/16/15 Page: 1 of 1 PAGEID #: 315

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA
Plaintiff(s)
Case Number: CR-3-14-149

VS

XIAFEN CHEN
Defendant(s)

 

CLERK’S REQUEST TO RELEASE PASSPORT

 

It appearing to the Court that the case against said defendant, XIAFEN CHEN, has been resolved
on 03/11/2015 an order dismissing all charges was entered and case dismissed.

The Clerk requests permission to return the passport forfeited to this court.

RICHARD W. NAGEL, CLERK

by ge titel’ SK K

Fina cial Deputy

 
  
 

RED:

  

 

ie M. ROSE,
UNITED STATES DISTRICT JUDGE
/
